Case 2:04-cr-20079-.]PI\/| Document 64 Filed 05/23/05 Page 1 of 2 Page|D 106

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IN THE UNITED STATES DISTRICT COURT y
FOR THE WESTERN DISTRICT OF TENNESSEE 535 [-zi'!_'§‘?' ?,:, mfg r?‘ h
WESTERN DIVISION ' "" 2 " id

 

 

UNITED STATES OF AMERICA
VS.

No. 04-20(}79
MARK STRAIGHT,

Defendant.

 

ORDER GRANTING EXTENSION OF TIME TO SURRENDER

 

Before this Honorable Court is Defendant Mark Stl“aight’S Motion to extend the
time period for him to surrender to the Bureau of Prisons. Based upon the statements of
counsel and the record herein, the Court finds the motion well-taken;

IT IS THEREFORE, ORDERED, ADJUDGBD AND DECREED that
Det`endant’s request to extend the surrender date is GRANTED. Defendant report
directly to the specified designation with the Bureau of Prisons on
i~'n_d¢rt;'j durui 10 , 3065

Entered this the 0?3 day of /)/)S , 2005.

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U 'ted States District Court Judge McCa]la

 

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UNITED sTEsAT DISTRICT COURT - WESRTE DISTRICT TNNESSEE

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Honorable J on MeCalla
US DISTRICT COURT

